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                      IN THE UNITED STATES DISTRICT COURT FILED/REC 'D
                     FOR THE WESTERN DISTRICT OF WISCONSIN Z . 11 ,.. 'J, ,,, IQ: 3I
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UNITED STATES OF AMERICA                                                    U.S. u:sT:liC -.- CQU ~T

               V;                                            Case No. 20-CR-137

MICHAEL EISENGA,

                        Defendant,

CITY OF COLUMBUS,

                        Garnishee Defendant.



                                   ANSWER OF GARNISHEE


Brandon Bledsoe, BEING DULY SWORN DEPOSES AND SAYS:

        That he is the Assistant Administrator of the Garnishee, a municipal corporation organized

under the laws of the State of Wisconsin.

       On the 15 th day of August, 2022, Garnishee was served with the Writ of Continuing

Garnishment.

       Yes No
  l.           X        The Garnishee has custody, control or possession of the following property
                        in which the debtor maintains an interest, as described below:

       Description of                 Approximate Description of Defendant's
       Pro~                           Value               !ti fores t oTProperty

 (1)

 (2)

 (3)

 (4)
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           Yes No

2.                 _x_,           Have there been previous garnishments in effect?

                                  If the answer is yes, describe below.




           Yes No

3,                _x_            Garnishee anticipates owing to the defendant in the future, the following
                                 amounts:

               Amount                                   Estimate Date or Period Due

     (I) $

     (2) $

     (3) $

     (4) $



           Yes No

4.                _x_           The Garnishee has account(s) at this institution. However, the account(s)
                                currently contain no assets. The institution will forward assets as they
                                become available in the account(s).


       (Check the applicable line below if you deny that you hold property subject to this order of
garnishment.)

          Yes No

5.        _x_ _                 The Garnishee has the following objections, defenses, or set-offs to
                                Plaintiff's right to apply Garnishee's indebtedness to defendant:

                                See attached Exhibit A.




                                                          2
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          Yes No

                 ..lL         The Garnishee is in no manner and upon no account indebted or under
                              liability to the defendant and that the Garnishee does not have in his/her
                              possession or control any property belonging to the defendant, or in which
                              the Garnishee has an interest; and is in no manner liable as Garnishee in this
                              action.

 6.       The Garnishee mailed a copy of this answer by first-class mail to (1) the Debtor and (2)
          the U.S. Attorney's Office, 222 W. Washington Ave., Suite 700, Madison, WI 53703. Said
          copy was mailed on &o"vf        1-J     t     , 2022.
 7.       The Garnishee shall file this original answer with the Clerk of the United States District
          Court, 120 North Henry Street, Room 320, Madison, WI 53703.




           Subscribed and sworn to before me this
           2~ day of AL>_   §!.>~+        , 2022.

           Notary Pub
                         ;iii ·lrfA)
                                                                  Brandon Bledsoe
                                                                  (Type or print name)
           (Seal)
                                                                  Assistant Administrator
                                                                  (Indicate your relationship to Garnishee:
           My commission expires:{J,.,            11, 2'-J,       President, Treasurer, Payroll Clerk, etc.)

                                                                  920-623-5900
                                                                  Telephone number of Garnishee




                                                              3
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                                                EXHIBIT A
                                         TO ANSWER OF GARNISHEE

 5.        The Garnishee does not have custody, control or possession of any property in
           which the debtor, Michael Eisenga, maintains an interest. However, the Garnishee
           does have custody, control and possession of the following property owed to
           Columbus Commerce Center LLC, an entity in which the Garnishee is aware that
           Michael Eisenga is a member. Garnishee will hold these funds pending further
           order of the court.

           1.       $71,989.70 representing a 2019 tax increment payment due to Columbus
                    Commerce Center LLC for Parcel No. 1512.02 in the City of Columbus,
                    pursuant to a Development Agreement between the City of Columbus and
                    Columbus Commerce Center LLC dated March 6, 2012.

           2.       $47,206.59 representing a 2020 tax increment payment due to Columbus
                    Commerce Center LLC for Parcel No. 1512.02 in the City of Columbus,
                    pursuant to a Development Agreement between the City of Columbus and
                    Columbus Commerce Center LLC dated March 6, 2012.

          3.        $34,176.06 representing a 2020 tax increment payment due to Columbus
                    Commerce Center LLC for Parcel No. 1519.01 (now 1512.19) in the City of
                    Columbus, pursuant to a Development Agreement between the City of
                    Columbus and Columbus Commerce Center LLC dated March 6, 2012.

          4.        $33,326 .13 representing a 2021 tax increment payment due to Columbus
                    Commerce Center LLC for Parcel No. 1519.01 (now 1512.19) in the City of
                    Columbus, pursuant to a Development Agreement between the City of
                    Columbus and Columbus Commerce Center LLC dated March 6, 2012




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